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              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
                        
                      
              Brett Hanson Et Al. v. Sarah J. Levan Et Al. E2020-01581-COA-R9-CV Authoring Judge: Judge D. Michael Swiney, C.J. Trial Court Judge: Judge Deborah C. Stevens In this healthcare liability action, the plaintiff sued several medical professionals and facilities. Following an amended complaint, which had removed multiple parties from the action, the remaining defendants filed their answer to the amended complaint that included allegations of comparative fault against a doctor that the plaintiff had removed as a party to the action in the amended complaint. The defendants did not file a certificate of good faith in compliance with Tennessee Code Annotated § 29-26-122, which is required when a defendant alleges comparative fault against a “non-party.” Following a motion by the plaintiff, the trial court entered an order striking the defendants’ allegations of comparative fault. The trial court further found that the defendants had not demonstrated good cause to support an extension of time to file a certificate of good faith. Discerning no error, we affirm.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              10/25/21            
                      
                          
                      
                          
                  
            


      
    
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